On September 10, 1987, appellant, Jeffrey C. Bayless, pleaded guilty to one count of rape, an aggravated felony of the first degree, in violation of R.C. 2907.02. On November 4, 1987, the Lake County Court of Common Pleas sentenced appellant to an indeterminate term of ten to twenty-five years of incarceration.
In a judgment entry filed on September 11, 1997, the trial court adjudicated appellant as a sexual predator under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950. Appellant timely appealed, asserting that amended R.C. Chapter 2950 is unconstitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
Accordingly, the judgment of the trial court is reversed, and the case is hereby remanded for further proceedings consistent with this opinion.
                                ------------------------------ PRESIDING JUDGE DONALD R. FORD
NADER, J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.